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FOR THE
SECOND CIRCUIT

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At astated Term of the United States Court of Appeals for the Secand Circuit, rhe at the
Thurgood Marshall United States Courthouse, Foley Square, in the City of few York, on & vert

Forma, C

7 day of April, two thousand four.

Before: Hon. John M. Walker, Jr., Chief Judge
Hon. Jon O. Newman,
Hon. Richard J. Cardamone,

Circuit Judges

Docket No. 02-9385

 

MARIE POWELL,

 

Plaintiff-Appellant,
V.

NATIONAL BOARD OF MEDICAL EXAMINERS, UNIVERSITY OF CONNECTICUT
SCHOOL OF MEDICINE, BRUCE M. KOEPPEN,

Defendants-Appellees.

 

Appeal from the United States District Court for the District of Connecticut

This cause came on to be heard on the transcript of record from the United States District
Court for the District of Connecticut and was argued by counsel.

On consideration whereof, it is hereby ORDERED, ADJUDGED and DECREED that the |
judgment of said District Court be and it hereby is AFFIRMED in accordance with the opinion of
this Court.

FOR THE COURT:
ROSEANN B. MACKECHNIE, Clerk

by
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Wty el be.
Arthur M. Heller
Motions Staff Attorney

 

 

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